Case 3:18-cv-00689-TJC-PDB Document 114 Filed 07/15/21 Page 1 of 28 PageID 3580




                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                JACKSONVILLE DIVISION

                                                       CASE NO:        3:18-cv-689-J-32JRK

 CARLY A. VOLP, as Personal
 Representative of the Estate of
 KYLE ROBERT VOLP,

        Plaintiff,
 v.

 ANDREW WILLIAM SASSER, as an individual,
 NASSAU COUNTY SHERIFF’S OFFICE
 [Bill Leeper, in his capacity as Sheriff
 of Nassau County, Florida],

       Defendant.
 ____________________________/

         PLAINTIFF’S NOTICE OF FILING PROPOSED JURY INSTRUCTIONS

        Plaintiff, CARLY A. VOLP, as Personal Representative of the Estate of KYLE ROBERT

 VOLP, hereby submits the following proposed jury instructions.

                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on July 15, 2021, a true and correct copy of the foregoing was

 electronically filed in the U.S. District Court, Middle District of Florida, Jacksonville Division, by

 using the CM/ECF system which will send a notice of electronic filing to all counsel of record.


                        s/ Nelson E. Sierra_____________________
                        MARTIN SITLER (FL Bar No.: 79075).
                        NELSON E. SIERRA (FL Bar No.: 124247)
                        RONALD E. SHOLES, P.A.
                        4981 Atlantic Boulevard
                        Jacksonville, Florida 32207
                        Ph: 904-721-7575 Fax: 904-721-7474
                        Primary Email: ronsholespa-team2-eservice@youhurtwefight.com
                        Attorneys for Plaintiff



                                             Page 1 of 28
Case 3:18-cv-00689-TJC-PDB Document 114 Filed 07/15/21 Page 2 of 28 PageID 3581




                JURY INSTRUCTIONS BEFORE JURY SELECTION




                                  Page 2 of 28
Case 3:18-cv-00689-TJC-PDB Document 114 Filed 07/15/21 Page 3 of 28 PageID 3582




                                    JURY INSTRUCTION N0.1
                              201.1 DESCRIPTION OF THE CASE
                                      (Prior to Voir Dire)

        Welcome. I will now administer your oath.

        Do you solemnly swear or affirm that you will answer truthfully all questions asked of you
 as prospective jurors so help you God?

        Now that you have been sworn, I would like to give you an idea about what we are here to

 do.

        This is a civil trial. A civil trial is different from a criminal case, where a defendant is

 charged by the state prosecutor with committing a crime. The subject of a civil trial is a

 disagreement between people or companies, where the claims of one or more of these parties have

 been brought to court to be resolved. It is called “a trial of a lawsuit”.

        This civil action arises from an incident that occurred on or about July 1, 2015, while Mr.

 Kyle Volp was under the custody and control of Defendant NASSAU COUNTY SHERRIFF’S

 OFFICE and placed in an individual cell as a “medical watch” inmate, in or near the booking

 section of the Nassau County Jail. When in such state, Co-Defendant and employee of Nassau

 County Sherriff’s Office, ANDREW WILLIAM SASSER (Sasser), forcibly pushed Mr. Volp into

 a cinderblock wall twice and striking him with his knee, and punching him. As a result, Mr. Volp

 was permanently and seriously injured.

        The principal witnesses who will testify in this case are: [See parties' witness lists]




                                             Page 3 of 28
Case 3:18-cv-00689-TJC-PDB Document 114 Filed 07/15/21 Page 4 of 28 PageID 3583




                                    JURY INSTRUCTION NO. 2

               201.2 INTRODUCTION OF PARTICIPANTS AND THEIR ROLES

 Who are the people and what do they do?

         Judge/Court: I am the Judge. You may hear people occasionally refer to me as "The

 Court". That is the formal name for my role. My job is to maintain order and decide how to apply

 the rules of the law to the trial. I will also explain various rules to you that you will need to know

 in order to do your job as the jury. It is my job to remain neutral on the issues of this lawsuit.

         Parties: A party who files a lawsuit is called the Plaintiff. A party that is sued is called the

 Defendant.

         Attorneys: The attorneys to whom I will introduce you have the job of representing their

 clients. That is, they speak for their clients here at the trial. They have taken oaths as attorneys to

 do their best and to follow the rules for their profession.

         Plaintiff’s Counsel: The attorneys on this side of the courtroom, Nelson Sierra and Martin

 Sitler, represent Carly Volp who is the widow and personal representative of Kyle Robert Volp

 and are the persons who filed the lawsuit here at the courthouse. Their job is to present their

 client's side of things to you. They and their client will be referred to most of the time as "the

 plaintiff".

         Defendant's Counsel: The attorneys on this side of the courtroom, Joe Longfellow and

 Ramsey Ravell represent Defendant Nassau County Sherriff’s Office, and John Merrett represents

 Defendant Andrew Sasser and they are the ones who have been sued. Their job is to present their

 client's side of things to you. They and their client will usually be referred to here as "the

 defendant".




                                              Page 4 of 28
Case 3:18-cv-00689-TJC-PDB Document 114 Filed 07/15/21 Page 5 of 28 PageID 3584




         Court Clerk: This person sitting in front of me, ____ , is the court clerk. [He] [She] is here

 to assist me with some of the mechanics of the trial process, including the numbering and collection

 of the exhibits that are introduced in the course of the trial.

         Court Reporter: The person sitting at the stenographic machine, is the court reporter.

 [His] [Her] job is to keep an accurate legal record of everything we say and do during the trial.

         Bailiff: The person over there, _____ , is the bailiff. [His] [Her] job is to maintain order

 and security in the courtroom. The bailiff is also my representative to the jury. Anything you need

 or any problems that come up for you during the course of the trial should be brought to [him]

 [her]. However, the bailiff cannot answer any of your questions about the case. Only I can do

 that.

         Jury: Last, but not least, is the jury, which we will begin to select in a few moments from

 among all of you. The jury's job will be to decide what the facts are and what the facts mean.

 Jurors should be as neutral as possible at this point and have no fixed opinion about the lawsuit.

         In order to have a fair and lawful trial, there are rules that all jurors must follow. A basic

 rule is that jurors must decide the case only on the evidence presented in the courtroom. You must

 not communicate with anyone, including friends and family members, about this case, the people

 and places involved, or your jury service. You must not disclose your thoughts about this case or

 ask for advice on how to decide this case.

         I want to stress that this rule means you must not use electronic devices or computers to

 communicate about this case, including tweeting, texting, blogging, e-mailing, posting information

 on a website or chat room, or any other means at all. Do not send or accept any messages to or

 from anyone about this case or your jury service.




                                              Page 5 of 28
Case 3:18-cv-00689-TJC-PDB Document 114 Filed 07/15/21 Page 6 of 28 PageID 3585




        You must not do any research or look up words, names, [maps], or anything else that may

 have anything to do with this case. This includes reading newspapers, watching television or using

 a computer, cell phone, the Internet, any electronic device, or any other means at all, to get

 information related to this case or the people and places involved in this case. This applies whether

 you are in the courthouse, at home, or anywhere else.

        All of us are depending on you to follow these rules, so that there will be a fair and lawful

 resolution to this case. Unlike questions that you may be allowed to ask in court, which will be

 answered in court in the presence of the judge and the parties, if you investigate, research or make

 inquiries on your own outside of the courtroom, the trial judge has no way to assure they are proper

 and relevant to the case. The parties likewise have no opportunity to dispute the accuracy of what

 you find or to provide rebuttal evidence to it. That is contrary to our judicial system, which assures

 every party the right to ask questions about and rebut the evidence being considered against it and

 to present argument with respect to that evidence. Non-court inquiries and investigations unfairly

 and improperly prevent the parties from having that opportunity our judicial system promises. If

 you become aware of any violation of these instructions or any other instruction I give in this case,

 you must tell me by giving a note to the bailiff.




                                             Page 6 of 28
Case 3:18-cv-00689-TJC-PDB Document 114 Filed 07/15/21 Page 7 of 28 PageID 3586




             JURY INSTRUCTIONS BEFORE OPENING STATEMENTS




                                  Page 7 of 28
Case 3:18-cv-00689-TJC-PDB Document 114 Filed 07/15/21 Page 8 of 28 PageID 3587




                                   JURY INSTRUCTION NO. 3

                                     202.1 INTRODUCTION

        You have now taken an oath to serve as jurors in this trial. Before we begin, I am going to

 tell you about the rules of law that apply to this case and let you know what you can expect as the

 trial proceeds.

        It is my intention to give you most of the rules of law but it might be that I will not know

 for sure all of the law that will apply in this case until all of the evidence is presented. However,

 I can anticipate most of the law and give it to you at the beginning of the trial so that you will

 better understand what to be looking for while the evidence is presented. If I later decide that

 different or additional law applies to the case, I will tell you. In any event, at the end of the

 evidence I will give you the final instructions on which you must base your verdict. At that time,

 you will have a complete written set of the instructions so you do not have to memorize what I am

 about to tell you.




                                            Page 8 of 28
Case 3:18-cv-00689-TJC-PDB Document 114 Filed 07/15/21 Page 9 of 28 PageID 3588




                                   JURY INSTRUCTION NO. 4

                      202.2 EXPLANATION OF THE TRIAL PROCEDURE

         Now that you have heard the law, I want to let you know what you can expect as the trial

 proceeds.

         Opening Statements: In a few moments, the attorneys will each have a chance to make

 what are called opening statements. In an opening statement, an attorney is allowed to give you

 his views about what the evidence will be in the trial and what you are likely to see and hear in the

 testimony.

         Evidentiary Phase: After the attorneys' opening statements the plaintiff will bring his

 witnesses and evidence to you.

         Evidence: Evidence is the information that the law allows you to see or hear in deciding

 this case. Evidence includes the testimony of the witnesses, documents, and anything else that I

 instruct you to consider.

         Witnesses: A witness is a person who takes an oath to tell the truth and then answers

 attorneys' questions for the jury. The answering of attorneys' questions by witnesses is called

 "giving testimony". Testimony means statements that are made when someone has sworn an oath

 to tell the truth.

         The plaintiff’s lawyer will normally ask a witness the questions first. That is called direct

 examination. Then the defense lawyer may ask the same witness additional questions about

 whatever the witness has testified to. That is called cross-examination. Certain documents or

 other evidence may also be shown to you during direct or cross-examination. After the plaintiff’s

 witnesses have testified, the defendant will have the opportunity to put witnesses on the stand and




                                             Page 9 of 28
Case 3:18-cv-00689-TJC-PDB Document 114 Filed 07/15/21 Page 10 of 28 PageID 3589




  go through the same process. Then the plaintiff’s lawyer gets to do cross-examination. The

  process is designed to be fair to both sides.

          It is important that you remember that testimony comes from witnesses. The attorneys do

  not give testimony and they are not themselves witnesses.

          Objections: Sometimes the attorneys will disagree about the rules for trial procedure when

  a question is asked of a witness. When that happens, one of the lawyers may make what is called

  an "objection". The rules for a trial can be complicated, and there are many reasons for attorneys

  to object. You should simply wait for me to decide how to proceed. If I say that an objection is

  "sustained", that means the witness may not answer the question. If I say that the objection is

  "overruled", that means the witness may answer the question.

          When there is an objection and I make a decision, you must not assume from that decision

  that I have any particular opinion other than that the rules for conducting a trial are being correctly

  followed. If I say a question may not be asked or answered, you must not try to guess what the

  answer would have been. That is against the rules, too.

          Side Bar Conferences: Sometimes I will need to speak to the attorneys about legal

  elements of the case that are not appropriate for the jury to hear. The attorneys and I will try to

  have as few of these conferences as possible while you are giving us your valuable time in the

  courtroom. But, if we do have to have such a conference during testimony, we will try to hold the

  conference at the side of my desk so that we do not have to take a break and ask you to leave the

  courtroom.

          Recesses: Breaks in an ongoing trial are usually called "recesses". During a recess you

  still have your duties as a juror and must follow the rules, even while having coffee, at lunch, or at

  home.



                                              Page 10 of 28
Case 3:18-cv-00689-TJC-PDB Document 114 Filed 07/15/21 Page 11 of 28 PageID 3590




         Instructions Before Closing Arguments: After all the evidence has been presented to

  you, I will instruct you in the law that you must follow. It is important that you remember these

  instructions to assist you in evaluating the final attorney presentations, which come next, and, later,

  during your deliberations, to help you correctly sort through the evidence to reach your decision.

         Closing Arguments: The attorneys will then have the opportunity to make their final

  presentations to you, which are called closing arguments.

         Final Instructions: After you have heard the closing arguments, I will instruct you further

  in the law as well as explain to you the procedures you must follow to decide the case.

         Deliberations: After you hear the final jury instructions, you will go to the jury room and

  discuss and decide the questions I have put on your verdict form. You will have a copy of the jury

  instructions to use during your discussions. The discussions you have and the decisions you make

  are usually called "jury deliberations". Your deliberations are absolutely private and neither I nor

  anyone else will be with you in the jury room.

         Verdict: When you have finished answering the questions, you will give the verdict form

  to the bailiff, and we will all return to the courtroom where your verdict will be read. When that

  is completed, you will be released from your assignment as a juror.

  What are the rules?

         Finally, before we begin the trial, I want to give you just a brief explanation of rules you

  must follow as the case proceeds.

         Keeping an Open Mind: You must pay close attention to the testimony and other evidence

  as it comes into the trial. However, you must avoid forming any final opinion or telling anyone

  else your views on the case until you begin your deliberations. This rule requires you to keep an

  open mind until you have heard all of the evidence and is designed to prevent you from influencing



                                              Page 11 of 28
Case 3:18-cv-00689-TJC-PDB Document 114 Filed 07/15/21 Page 12 of 28 PageID 3591




  how your fellow jurors think until they have heard all of the evidence and had an opportunity to

  form their own opinions. The time and place for coming to your final opinions and speaking about

  them with your fellow jurors is during deliberations in the jury room, after all of the evidence has

  been presented, closing arguments have been made, and I have instructed you on the law. It is

  important that you hear all of the facts and that you hear the law and how to apply it before you

  start deciding anything.

         Consider Only the Evidence: It is the things you hear and see in this courtroom that matter

  in this trial. The law tells us that a juror can consider only the testimony and other evidence that

  all the other jurors have also heard and seen in the presence of the judge and the lawyers. Doing

  anything else is wrong and is against the law. That means that you must not do any work or

  investigation of your own about the case. You must not obtain on your own any information about

  the case or about anyone involved in the case, from any source whatsoever. This includes reading

  newspapers, watching television or using a computer, cell phone, the Internet, any electronic

  device, or any other means at all, to get information related to this case or the people and places

  involved in this case. This applies whether you are in the courthouse, at home, or anywhere else.

  You must not visit places mentioned in the trial or use the internet to look at maps or pictures to

  see any place discussed during trial.

         Do not provide any information about this case to anyone, including friends or family

  members. Do not let anyone, including the closest family members, make comments to you or ask

  questions about the trial. Jurors must not have discussions of any sort with friends or family

  members about the case or the people and places involved. So, do not let even the closest family

  members make comments to you or ask questions about the trial. In this age of electronic

  communication, I want to stress again that just as you must not talk about this case face-to-face,



                                            Page 12 of 28
Case 3:18-cv-00689-TJC-PDB Document 114 Filed 07/15/21 Page 13 of 28 PageID 3592




  you must not talk about this case by using an electronic device. You must not use phones,

  computers or other electronic devices to communicate. Do not send or accept any messages related

  to this case or your jury service. Do not discuss this case or ask for advice by any means at all,

  including posting information on an Internet website, chat room or blog.

         No Mid-Trial Discussions: When we are in a recess, do not discuss anything about the

  trial or the case with each other or with anyone else. If attorneys approach you, don't speak with

  them. The law says they are to avoid contact with you. If an attorney will not look at you or speak

  to you, do not be offended or form a conclusion about that behavior. The attorney is not supposed

  to interact with jurors outside of the courtroom and is only following the rules. The attorney is not

  being impolite. If an attorney or anyone else does try to speak with you or says something about

  the case in your presence, please inform the bailiff immediately.

         Only the Jury Decides: Only you get to deliberate and answer the verdict questions at the

  end of the trial. I will not intrude into your deliberations at all. I am required to be neutral. You

  should not assume that I prefer one decision over another. You should not try to guess what my

  opinion is about any part of the case. It would be wrong for you to conclude that anything I say

  or do means that I am for one side or another in the trial. Discussing and deciding the facts is your

  job alone.




                                             Page 13 of 28
Case 3:18-cv-00689-TJC-PDB Document 114 Filed 07/15/21 Page 14 of 28 PageID 3593




                                   JURY INSTRUCTION NO. 5

                               202.3 NOTE-TAKING BY JURORS

         If you would like to take notes during the trial, you may do so. On the other hand, of

  course, you are not required to take notes if you do not want to. That will be left up to you

  individually.

         You will be provided with a note pad and a pen for use if you wish to take notes. Any

  notes that you take will be for your personal use. However, you should not take them with you

  from the courtroom. During recesses, the bailiff will take possession of your notes and will return

  them to you when we reconvene. After you have completed your deliberations, the bailiff will

  deliver your notes to me. They will be destroyed. No one will ever read your notes.

         If you take notes, do not get so involved in note-taking that you become distracted from

  the proceedings. Your notes should be used only as aids to your memory.

         Whether or not you take notes, you should rely on your memory of the evidence and you

  should not be unduly influenced by the notes of other jurors. Notes are not entitled to any greater

  weight than each juror's memory of the evidence.




                                            Page 14 of 28
Case 3:18-cv-00689-TJC-PDB Document 114 Filed 07/15/21 Page 15 of 28 PageID 3594




                                     JURY INSTRUCTION NO. 6

                                     202.4 JUROR QUESTIONS

  Questions for the court or courtroom personnel:

         During the trial, you may have a question about these proceedings. If so, please write it

  down and hand it to the bailiff, who will then hand it to me. I will review your question with the

  parties [and their attorneys] before responding.

  Questions for witnesses:

         You also may have a question you think should be asked of a witness. If so, there is a way

  for you to request that I ask the witness a question. After all the attorneys have completed their

  questioning of the witness, you should raise your hand if you have a question. I will then give you

  sufficient time to write the question on a piece of paper, fold it, and give it to the bailiff, who will

  pass it to me. Do not put your name on the question, show it to anyone or discuss it with anyone.

         I will then review the question with the attorneys. Under our law, only certain evidence

  may be considered by a jury in determining a verdict. You are bound by the same rules of evidence

  that control the attorneys' questions. If I decide that the question may not be asked under our rules

  of evidence, I will tell you. Otherwise, I will direct the question to the witness. The attorneys may

  then ask follow-up questions if they wish. If there are additional questions from jurors, we will

  follow the same procedure again.

         By providing this procedure, I do not mean to suggest that you must or should submit

  written questions for witnesses. In most cases, the lawyers will have asked the necessary questions.




                                              Page 15 of 28
Case 3:18-cv-00689-TJC-PDB Document 114 Filed 07/15/21 Page 16 of 28 PageID 3595




              JURY INSTRUCTIONS BEFORE CLOSING ARGUMENTS




                                  Page 16 of 28
Case 3:18-cv-00689-TJC-PDB Document 114 Filed 07/15/21 Page 17 of 28 PageID 3596




                                    JURY INSTRUCTION NO. 7

                                       401.1 INTRODUCTION

         Members of the jury, you have now heard and received all of the evidence in this case. I

  am now going to tell you about the rules of law that you must use in reaching your verdict. You

  will recall at the beginning of the case I told you that if, at the end of the case I decided that

  different law applies, I would tell you so. These instructions are (slightly) different from what I

  gave you at the beginning and it is these rules of law that you must now follow. When I finish

  telling you about the rules of law, the attorneys will present their final arguments and you will then

  retire to decide your verdict.




                                             Page 17 of 28
Case 3:18-cv-00689-TJC-PDB Document 114 Filed 07/15/21 Page 18 of 28 PageID 3597




                                  JURY INSTRUCTION NO. 8

                                 401.2 SUMMARY OF CLAIMS

         This civil action arises from an incident that occurred on or about July 1, 2015, while Mr.

  Kyle Volp was under the custody and control of Defendant NASSAU COUNTY SHERRIFF’S

  OFFICE and placed in an individual cell as a “medical watch” inmate, in or near the booking

  section of the Nassau County Jail. When in such state, Co-Defendant and employee of NASSAU

  COUNTY SHERRIFF’S OFFICE, ANDREW WILLIAM SASSER, forcibly pushed Mr. Volp

  into a cinderblock wall twice and striking him with his knee, and punching him. As a result, Mr.

  Volp claims he was permanently and seriously injured.




                                           Page 18 of 28
Case 3:18-cv-00689-TJC-PDB Document 114 Filed 07/15/21 Page 19 of 28 PageID 3598




                                     JURY INSTRUCTION NO. 9

                                  STATE LAW BATTERY CLAIM

            The Plaintiff is making a Battery claim against the Defendants. Battery is an intentional

  tort, and a claim for Battery may lie if a person, without being authorized or privileged to so,

  touches or strikes another person against his will or intentionally causes bodily harm to another

  person.

            However, a law enforcement officer is authorized to engage in conduct that might

  otherwise be a Battery where the officer reasonably believes that the conduct is reasonably and

  necessary in assisting with an arrest or maintaining custody of a prisoner. They are liable for

  battery if they use excessive force. A battery claim for excessive force is analyzed by focusing

  upon whether the amount of force used was reasonable under the circumstances.

            Under Florida law, a Sherriff’s office may be held liable for batteries committed by its

  officers as long as the officers “acted within the course and scope of [their] employment and the

  [acts constituting the battery] [were] not committed in bad faith, with malicious purpose, or in a

  manner exhibiting wanton and willful disregard” of a detained person’s human rights or safety.




  City of Boynton Beach v. Weiss, 120 So. 3d 606, 611 (Fla. 4th DCA 2013)(examining §

  768.28(9)(a), FLA. STAT. (2007)); see also Gregory v. Miami-DadeCty., 719 F. App’x 859, 873

  (11th Cir. 2017).



                                             Page 19 of 28
Case 3:18-cv-00689-TJC-PDB Document 114 Filed 07/15/21 Page 20 of 28 PageID 3599




                                    JURY INSTRUCTION NO. 10

  Civil Rights – 42 U.S.C. § 1983 – Fourth or Fourteenth Amendment Claim – Private Person

                           or Pretrial Datainee Alleging Excessive Force

         In this case, Carly A. Volp, as Personal Representative of the Estate of Kyle Robert Volp,

  claims that Andrew Sasser, while acting under color of law, intentionally committed acts that

  violated Kyle Volp’s constitutional right to be free from the use of excessive or unreasonable force

  while being held in custody as a pretrial detainee.

         Under the Fourteenth Amendment to the United States Constitution and Florida law, every

  person has the right not to be subjected to excessive or unreasonable force while being held in

  custody as a pretrial detainee.

         To succeed on these claims, Carly A. Volp, as Personal Representative of the Estate of

  Kyle Robert Volp, must prove each of the following facts by a preponderance of the evidence:

         First: That Andrew Sasser intentionally committed acts that violated Kyle Volp’s

  constitutional right not to be subjected to excessive or unreasonable force while being held in

  custody as a pretrial detainee;

         Second: That Andrew Sasser acted under color of law. The parties have agreed that

  Andrew Sasser acted under color of law, so you should accept that as a proven fact.

         For the first element, Carly A. Volp, as Personal Representative of the estate of Kyle Robert

  Volp claims that Andrew Sasser used excessive force on Kyle Volp while he was being held in

  custody as a pretrial detainee. But not every push or shove—even if it later seems unnecessary—

  is a constitutional violation. Also, an officer always has the right to use the reasonable force that

  is necessary under the circumstances to maintain order and ensure compliance with jail or prison



                                             Page 20 of 28
Case 3:18-cv-00689-TJC-PDB Document 114 Filed 07/15/21 Page 21 of 28 PageID 3600




  regulations. Whether a specific use of force is excessive or unreasonable depends on factors such

  as the relationship between the need for the use of force and the amount of force used; the extent

  of the plaintiff’s injury; any effort made by the officer to temper or limit the amount of force used;

  the severity of the security problem at issue; the threat reasonably perceived by the officer; and

  whether the plaintiff was actively resisting.

         You must decide whether the force Andrew Sasser used in this case was excessive or

  unreasonable based on the degree of force a reasonable and prudent officer would have applied to

  maintain order and safety under the same circumstances. Andrew Sasser’s underlying intent or

  motivation is irrelevant.

         If you find Carly A. Volp, as Personal Representative for the estate of Kyle Robert Volp,

  has proved each fact that she must prove, you must decide the issue of his damages. If you find

  that the Plaintiff has not proved each of these facts, then you must find for Andrew Sasser.




                                             Page 21 of 28
Case 3:18-cv-00689-TJC-PDB Document 114 Filed 07/15/21 Page 22 of 28 PageID 3601




                                 JURY INSTRUCTION NO. 11

             Greater Weight (Preponderance) of the Evidence and Burden of Proof

         If the greater weight of the evidence does not support the claims of Plaintiff, then your

  verdict on those claims should be for Defendants.




                                           Page 22 of 28
Case 3:18-cv-00689-TJC-PDB Document 114 Filed 07/15/21 Page 23 of 28 PageID 3602




                                    JURY INSTRUCTION NO. 12

                       Greater Weight (Preponderance) of Evidence Defined

         “Greater weight of the evidence” means the more persuasive and convincing force and

  effect of the entire evidence in the case.




                                               Page 23 of 28
Case 3:18-cv-00689-TJC-PDB Document 114 Filed 07/15/21 Page 24 of 28 PageID 3603




                                   JURY INSTRUCTION NO. 13

                              Personal Injury Damages: Introduction

         If your verdict is for Defendants, you will not consider the matter of damages. But if you

  find for Plaintiff, you should determine and write on the verdict form, in dollars, the total amount

  of loss or injury which the greater weight of the evidence shows he sustained as a result of the

  incident complained of, including any such damage as Plaintiff is reasonably certain to incur in

  the future. You shall consider the following elements.




                                            Page 24 of 28
Case 3:18-cv-00689-TJC-PDB Document 114 Filed 07/15/21 Page 25 of 28 PageID 3604




                                   JURY INSTRUCTION NO. 14

                                Personal Injury Damages: Elements

         Any bodily injury sustained by Plaintiff and any resulting pain and suffering, disability,

  disfigurement, mental anguish, and loss of capacity for the enjoyment of life experienced in the

  past or to be experienced in the future. There is no exact standard for measuring such damage. The

  amount should be fair and just in light of the evidence.

         Personal injury damages also include the reasonable expense of hospitalization and medical

  care and treatment necessarily or reasonably obtained by Plaintiff.




                                            Page 25 of 28
Case 3:18-cv-00689-TJC-PDB Document 114 Filed 07/15/21 Page 26 of 28 PageID 3605




                                  JURY INSTRUCTION NO. 15

                           Prejudice and Sympathy, Judge Not Involved

         In reaching your verdict, you are not to be swayed from the performance of your duty by

  prejudice, sympathy or any other sentiment for or against any party. Your verdict must be based

  on the evidence that has been received and the law on which I have instructed you.

         Reaching a verdict is exclusively your job. I cannot participate in that decision in any way.

  You should not speculate about how I might evaluate the testimony of any witness or any other

  evidence in this case, and you should not think that I prefer one verdict over another. Therefore,

  in reaching your verdict, you should not consider anything that I have said or done, except for my

  specific instructions to you.




                                            Page 26 of 28
Case 3:18-cv-00689-TJC-PDB Document 114 Filed 07/15/21 Page 27 of 28 PageID 3606




                                        JURY INSTRUCTION NO. 16

                  Duty to Deliberate - When Only the Plaintiff Claims Damages

         Of course, the fact that I have given you instructions concerning the issue of Plaintiff's

  damages should not be interpreted in any way as an indication that I believe that the Plaintiff

  should, or should not, prevail in this case.

         Any verdict you reach in the jury room must be unanimous. In other words, to return a

  verdict you must all agree. Your deliberations will be secret; you will never have to explain your

  verdict to anyone.

         It is your duty as jurors to discuss the case with one another in an effort to reach agreement

  if you can do so. Each of you must decide the case for yourself, but only after full consideration

  of the evidence with the other members of the jury. While you are discussing the case do not

  hesitate to re-examine your own opinion and change your mind if you become convinced that you

  were wrong. But do not give up your honest beliefs solely because the others think differently or

  merely to get the case over with.

         Remember, that in a very real way you are judges - - judges of the facts. Your only interest

  is to seek the truth from the evidence in the case.




                                                 Page 27 of 28
Case 3:18-cv-00689-TJC-PDB Document 114 Filed 07/15/21 Page 28 of 28 PageID 3607




                                      JURY INSTRUCTION NO. 17

                      Election of Foreperson - Explanation of Verdict Form

         When you go to the jury room you should first select one of your members to act as your

  foreperson. The foreperson will preside over your deliberations and will speak for you here in

  court. A form of verdict has been prepared for your convenience.

  [Explain verdict]



         You will take the verdict form to the jury room and when you have reached unanimous

  agreement you will have your foreperson fill in the verdict form, date and sign it, and then return

  to the courtroom. If you should desire to communicate with me at any time, please write down

  your message or question and pass the note to the marshal who will bring it to my attention. I will

  then respond as promptly as possible, either in writing or by having you returned to the courtroom

  so that I can address you orally. I caution you, however, with regard to any message or question

  you might send, that you should not tell me your numerical division at the time.




                                            Page 28 of 28
